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                         IN THE UNITED STATES DISTRICT COURT FOR THE
                                 EASTERN DISTRICT OF VIRGINIA
                                     ALEXANDRIA DIVISION


   AMAZON.COM, INC and AMAZON                          )
   DATA SERVICES, INC.,                                )                Case No. 1:20cv484
                                                       )
                Plaintiffs,                            )             Hon. Rossie D. Alston, Jr.
                                                       )             Hon. Theresa Buchanan
   v.                                                  )
                                                       )
   WDC HOLDINGS LLC d/b/a                              )
   NORTHSTAR COMMERCIAL                                )
   PARTNERS, et al.,                                   )
                                                       )
                Defendants,
                                                       )    REPLY IN SUPPORT OF DEFENDANT
   ____________________________________                )    CARLETON NELSON’S EMERGENCY
                                                       )        MOTION TO COMPEL THE
   800 HOYT LLC,                                       )      DEPOSITION OF D. MATTHEW
                                                       )                DODEN
                Intervening Interpleader Plaintiff,    )
                                                       )
   v.                                                  )
                                                       )
   BRIAN WATSON, WDC HOLDING                           )
   LLC, PLW CAPITAL I,                                 )
   LLC.AMAZON.COM, INC, and                            )
   AMAZON DATA SERVICES, INC.                          )
                                                       )
                Interpleader Defendants.               )
                                                       )


            COMES NOW Defendant Carleton Nelson (“Nelson”) through undersigned counsel, and

  files this reply in support of his motion to compel the deposition of D. Matthew Doden

            Amazon’s response does not cite a single authority that it can unilaterally refuse to allow

  one of its employees to sit for a deposition next week because it would prefer that the deposition

  occur at a later date. In fact, they do not cite a single case in the entire response, nor do they dispute

  any of the authority cited in Nelson’s opening brief. For this reason alone the Court should grant




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  Nelson’s motion. Moreover, it demonstrates the absence of a reasonable basis to take the position

  Amazon did.

            Second, what Amazon does argue is a completely disingenuous, strawman fallacy. Amazon

  asserts that Nelson seeks to depose Mr. Doden about what Amazon has recently received in

  discovery. To be clear, as has been explained in great detail, one of the topics about which Nelson

  wishes to depose Mr. Doden is what he, as a key member of Amazon’s internal investigation team

  knew from that early investigation, much even before this litigation commenced, much less before

  the discovery Amazon now cites to actually occurred. Nelson has no desire to ask Mr. Doden about

  what Amazon has received in recent discovery. Thus, Amazon’s argument that we can ask counsel

  for Amazon what it believes Amazon learned in recent discovery is a red herring and has no

  bearing on the present motion.1

            Third, Amazon’s contention that its decision to elect to use Mr. Doden as a 30(b)(6)

  designee and the claim that they need extensive time to prepare him for his individual deposition.

  Mr. Doden has been noticed at this point for 11 days is no basis to move the deposition past the

  response deadline for the motion to amend. Nelson offered to take his deposition as late as April

  14, giving Amazon another week to prepare Mr. Doden for his deposition, despite the fact that it

  would require obtaining an expedited transcript and putting Nelson in a more difficult position of

  incorporating that information into his response to the motion to amend on short notice, as

  compared to the originally scheduled day or one earlier next week. Amazon has had at least fifteen

  different attorneys from its litigation counsel Gibson Dunn participate in various aspects of this

  case, with at least eight taking or defending depositions. To claim that an additional three weeks



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             This position is also puzzling in and of itself given the efforts being taken to remove prior litigation counsel
  from their roles as active factual representatives for Amazon in this case in the other motions set for hearing tomorrow.


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  are needed to prepare Mr. Doden for his individual deposition, with this many available attorneys,

  particularly where he has been put forward as ready and able to sign a brand new declaration

  essentially affirming many of the statements in other declarations as to what Amazon knew at the

  beginning of the case, defies credulity. As to privilege concerns, it seems pretty straightforward,

  particularly where Mr. Doden is himself an attorney who presumably understands the concept of

  privilege: while Nelson does not intend to use this deposition as a means to delve into legitimately

  privileged matters, if questions happen to stray into an area where Amazon and its counsel believes

  privileged information is at issue, Amazon has experienced, sophisticated counsel who are fully

  aware of objecting and instructing Mr. Doden not to answer. There does not appear to be any

  reasonable explanation as to why it would take weeks of preparation to be ready to take such

  actions.2

            It is also noteworthy that Amazon buries in a footnote its acknowledgment that Amazon

  was well aware of Mr. Atherton and Von Lacey and their alleged participation in the conduct at

  issue. To be clear Amazon identified Mr. Atherton no less than twenty five times in the Second

  Amended Complaint, and discussed numerous alleged instances of conduct by Mr. Atherton in

  connection with the conduct at issue. See Doc. 150. Amazon attempts to downplay that knowledge

  by assertions of requiring admissible evidence before it files suit against Mr. Atherton. This is

  absolutely not the standard when considering good cause or undue delay on a motion to amend. It

  is also interesting that Amazon takes that position now, when it had no qualms filing a suit and

  obtaining a massive preliminary injunction in this case against Mr. Watson with what it now


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             Nelson would also note that at this point counsel for Amazon has essentially requested that almost all of the
  remaining depositions take place after the motion to amend hearing, seeking to double slot depositions right up to the
  end of the discovery period. Nelson has no interest in once again clogging up depositions right to the end of the fact
  discovery period, and would prefer to use all of the time the Court has provided in this recent extension to conclude
  discovery in a much more reasonable fashion—which was part of the basis for agreeing to join in the request for an
  extension to begin with.


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  acknowledges in its motion to withdraw verifications and declarations would not meet such an

  evidentiary threshold. But that is an issue for another day.

            Finally, as to Amazon’s discussion of the government investigation, the point of

  highlighting Mr. Doden’s involvement in many of the meetings and conferences with the FBI and

  the U.S. Attorney’s Office (which in total, with or without Mr. Doden, number over eighty) is to

  show that Mr. Doden has a significant breadth of knowledge about what Amazon knew and when

  it knew it during that time frame. That is what is relevant to the instant motion.3

                                               Conclusion

            For the reasons in Nelson’s opening brief and those herein, Nelson requests that the Court

  compel the deposition of D. Matthew Doden, to occur on either of April 11, 13, or 14, and award

  Nelson his costs and fees in filing this motion.

            April 7, 2022                 BURR & FORMAN LLP

                                          /s/ Rachel Friedman
                                          Rachel Friedman (VA Bar #93898)
                                          420 North 20th Street, Suite 3400
                                          Birmingham, AL 35203
                                          Telephone: (205) 251-3000
                                          Facsimile: (205) 458-5100
                                          rfriedma@burr.com




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             As to Amazon’s assertion that the government investigation and what Amazon may have
  told the government during those eighty-plus meetings is completely irrelevant to this case, such
  a proposition is baseless. What Amazon representatives told the government that they knew or
  claimed to know about the facts concerning the transactions at issue are highly relevant and
  discoverable, as would be the case for any statements made by a party to an action about the
  circumstances underlying the case to any third party. See FRE 801(d)(2). Further, the record is
  replete with Amazon’s citation to that investigation and the government’s civil forfeiture efforts
  throughout this civil case, and it pointed to that investigation on numerous occasions to obtain
  relief in the preliminary injunction proceedings.



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                               /s/ J. Alex Little
                               J. Alex Little, IV (TN Bar No. 29858) (pro hac vice)
                               Emily H. Mack (TN Bar No. 31217) (pro hac vice)
                               222 2nd Ave. S., Suite 2000
                               Nashville, TN 37201
                               Telephone: (615) 724-3200
                               alex.little@burr.com
                               emack@burr.com

                               Adam R. Smart (FL Bar No 1032572) (pro hac vice)
                               50 North Laura Street, Suite 3000
                               Jacksonville, Florida 32202
                               Telephone: (904) 232-7200
                               asmart@burr.com

                               Attorneys for Carleton Nelson




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                                    CERTIFICATE OF SERVICE

            I hereby certify that on April 7, 2022, a true and correct copy of the foregoing has been

  served upon the following via email:

   Elizabeth P. Papez (pro hac vice)                    Casey Kirschner
   Patrick F. Stokes (pro hac vice)                     635 N. Alvarado Lane
   Claudia M. Barrett (pro hac vice)                    Plymouth, MN 55447
   Michael R. Dziuban                                   casey.kirschner@gmail.com
   (Va. State Bar No. 89136)                            Pro se
   GIBSON, DUNN & CRUTCHER LLP
   1050 Connecticut Avenue, N.W.                        Kathryn M. Skilton
   Washington, D.C. 20036-5306                          Michael R. MacPhail
   Telephone: (202) 955-8500                            Faegre Drinker Biddle & Reath LLP
   Facsimile: (202) 467-0539                            801 Grand Avenue, 33rd Floor
   epapez@gibsondunn.com                                Des Moines, Iowa 50309
   pstokes@gibsondunn.com                               kathryn.skilton@faegreddrinker.com
   cbarrett@gibsondunn.com                              michael.macphail@faegredrinker.com
   mdziuban@gibsondunn.com                              Counsel for Intervenor 800 Hoyt, LLC
   Counsel for Plaintiffs
   Amazon.com, Inc. and Amazon Data Services,           Stanley L. Garnett
   Inc.                                                 Justin L. Cohen
                                                        Amanda K. Houseal
   Veronica S. Moyé                                     Brownstein Hyatt Farber Schreck LLP
   (pro hac vice application pending)                   410 Seventeenth St., Suite 2200
   GIBSON, DUNN & CRUTCHER LLP                          Denver, CO 80202-4432
   2001 Ross Avenue, Suite 2100                         sgarnett@bhfs.com
   Dallas, TX 75201                                     jcohen@bhfs.com
   Telephone: (214) 698-3100                            ahouseal@bhfs.com
   Facsimile: (214) 571-2900                            Counsel for Defendants Brian Watson, WDC
   vmoye@gibsondunn.com                                 Holdings, LLC, NSIPI Administrative Manager,
   Counsel for Plaintiffs Amazon.com, Inc. and          Sterling NCP FF, LLC, Manassas NCP FF, LLC
   Amazon Data Services, Inc.
                                                        George R. Calhoun
   Aaron G. McCollough                                  Jeffrey Hamlin
   McGuireWoods                                         James M. Trusty
   77 West Wacker Dr., Suite 4100                       Ifrah Law, PLLC
   Chicago, IL 60601                                    1717 Pennsylvania Ave, N.W. Suite 650
   amccollough@mcguirewoods.com                         Washington, DC 20006 george@ifrahlaw.com
   Counsel for the Receiver Mark Roberts                jhamlin@ifrahlaw.com
                                                        jtrusty@ifrahlaw.com
                                                        Counsel for Defendants Brian Watson, WDC
                                                        Holdings, LLC, NSIPI Administrative Manager,
                                                        Sterling NCP FF, LLC, Manassas NCP FF, LLC


            Dated: April 7, 2022                 /s/ Rachel Friedman
                                                         Rachel Friedman


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